     Case 2:10-cr-00203-JAD-EJY         Document 68         Filed 11/14/11    Page 1 of 4



 1     DANIEL G. BOGDEN
       United States Attorney
 2     District of Nevada
       ANDREW DUNCAN
 3     Assistant United States Attorney
       333 Las Vegas Boulevard South, Suite 5037
 4     Las Vegas, Nevada 89101
       Telephone: (702)388-6336
 5     Facsimile: (702-388-6418

 6
                                   UNITED STATES DISTRICT COURT
 7
                                          DISTRICT OF NEVADA
 8
                                                    -oOo-
 9
       UNITED STATES OF AMERICA,           ) 10-cr-00203-GMN-GWF
10                                         )
               Plaintiff,                  )
11                                         )
               v.                          ) MOTION TO CONTINUE DATE
12                                         ) TO FILE RESPONSE
       CHOON BOK LEE,                      )
13                                         )
               Defendant.                  )
14     ____________________________________)

15
               COMES NOW the United States of America by and through its attorneys, Daniel G.
16
       Bogden, United States Attorney, District of Nevada and Andrew w. Duncan, Assistant United
17
       States Attorney, and respectfully requests that the deadline for filing a response to defendants’
18
       Motion to Withdraw Plea (Doc. 61), currently due on November 14, 2011, be extended so that the
19
       Government will have up to November 28, 2011, within which to file said response. This
20
       extension is requested for the following reasons:
21
               1.     Counsel for the government has ordered the transcript of Defendant Lee's Change
22
       of Plea hearing. The transcript will not be delivered until on or about November 21, 2011. The
23
       transcripts are needed to assist the government in responding to Defendant's Motion to Withdraw
24
       Plea.
25
               2.     A Motion Hearing has been set for this matter on December 8, 2011 and a
26
       continuance of government's response will not cause a continuance of that Hearing.
27

28
     Case 2:10-cr-00203-JAD-EJY          Document 68         Filed 11/14/11      Page 2 of 4



 1             3.      Counsel for Defendant has no position on this Motion, due to the pending Motion

 2     to Dismiss Counsel (Doc.60).

 3             The additional time requested herein is not sought for purposes of delay but merely to

 4             allow

 5      counsel for the Government sufficient time within which to be able to effectively and thoroughly

 6     research, prepare and respond to the motion at issue, taking into account the exercise of due

 7     diligence.

 8             Additionally, denial of this request for continuance could result in a miscarriage of justice.

 9             This is the first request for continuance of the response date for the motion at issue.

10                            Dated November 14, 2011.

11                                                            DANIEL G. BOGDEN
                                                              United States Attorney
12

13
                                                                     /s/
14                                                            ANDREW W. DUNCAN
                                                              Assistant United States Attorney
15

16

17

18

19

20

21

22

23

24

25

26

27

28                                                       2
     Case 2:10-cr-00203-JAD-EJY           Document 68         Filed 11/14/11      Page 3 of 4




 1
                                   UNITED STATES DISTRICT COURT
 2
                                           DISTRICT OF NEVADA
 3
                                                     -oOo-
 4
     UNITED STATES OF AMERICA,           )                   10-cr-00203-GMN-GWF
 5                                       )
             Plaintiff,                  )
 6                                       )                   ORDER TO CONTINUE
             v.                          )                   GOVERNMENT'S RESPONSE
 7                                       )                   TO DEFENDANT'S MOTION
     CHOON BOK LEE,                      )                   TO WITHDRAW PLEA
 8                                       )
             Defendant.                  )
 9   ____________________________________)

10
              Based on the pending Motion of counsel and good cause appearing therefore, the Court
11
     hereby finds that:
12
              1.      Counsel for the government has ordered the transcript of Defendant Lee's Change of
13
     Plea hearing. The transcript will not be delivered until on or about November 21, 2011. The
14
     transcripts are needed to assist the government in responding to Defendant's Motion to Withdraw Plea.
15
              2.      A Motion Hearing has been set for this matter on December 8, 2011 and a
16
     continuance of government's response will not cause a continuance of that Hearing.
17
              3.      Counsel for Defendant has no position on this Motion, due to the pending Motion to
18
     Dismiss Counsel (Doc.60).
19
              The additional time requested herein is not sought for purposes of delay but merely to allow
20
      counsel for the Government sufficient time within which to be able to effectively and thoroughly
21
     research, prepare and respond to the motion at issue, taking into account the exercise of due diligence.
22
              Additionally, denial of this request for continuance could result in a miscarriage of justice.
23
              This is the first request for continuance of the response date for the motion at issue.
24

25

26
     Case 2:10-cr-00203-JAD-EJY         Document 68       Filed 11/14/11     Page 4 of 4




 1                                               ORDER

 2            IT IS THEREFORE ORDERED that the deadline for filing a response to defendants’ Motion

 3   to Withdraw Plea (Doc. 61), be extended so that the Government will have up to November 28, within

 4   which to file said response.

 5            DATEDthis
              DATED this________
                         14th dayday
                                  of November, 2011.
                                     of November, 2011.

 6

 7                                                  ________________________________
                                                       ___________________________
                                                    Gloria
                                                       U.S.M. Navarro JUDGE
                                                            DISTRICT
 8                                                  United States District Judge
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26




                                                     2
